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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

 UNITED STATES OF AMERICA                              UNDER SEAL

                  v.                                   Case No. 1:23-MJ-498

 ABDULLAH EZZELDIN TAHA
 MOHAMED HASSAN


                   Defendant.


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Tyler Ellefson, being duly sworn, depose and state:

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been

an FBI Special Agent for approximately three years. In preparation for this assignment, and as part

of my continued education, I have successfully completed law enforcement and national security

focused training, including formal courses and training exercises. I have already participated in

many aspects of federal investigations including, but not limited to, subject and witness interviews,

analysis of telephone and financial records, and preparing and executing physical search warrants,

digital search warrants, and arrest warrants.

       2.      As a federal agent, I am authorized to investigate violations of the laws of the

United States. As a law enforcement officer, I am authorized to execute warrants issued under the

authority of the United States.

       3.      This affidavit is submitted in support of a criminal complaint and arrest warrant for

ABDULLAH EZZELDIN TAHA MOHAMED HASSAN (hereinafter referred to as “HASSAN”).

Based on my training and experience and the facts as set forth in this affidavit, I submit there is



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probable cause to believe that violations of 18 U.S.C. § 842(p)(2)(A) (distribution of information

relating to explosives, destructive devices, and weapons of mass destruction in furtherance of the

commission of a federal crime of violence, that is 18 U.S.C. §§ 1116(a), 1116(b)(4)(B), 1111 (first-

degree murder of internationally protected persons)) have been and are being committed by

HASSAN.

        4.     This affidavit is intended to show only that there is sufficient probable cause for the

requested arrest warrant and criminal complaint and does not set forth all of my knowledge about

this matter. The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from legal process, open-source research, and other agents

and witnesses. When I write that an event occurred on a specific date or in a specific month, I

mean to convey that the event occurred “on or about” that date or month.

                   SUMMARY OF FACTS TO SUPPORT PROBABLE CAUSE

        5.     HASSAN is a national of Egypt currently living in Falls Church, Virginia and who

is currently in removal proceedings with the U.S. Immigration and Customs Enforcement.

I.      HASSAN Operated Several Pro-ISIS and Al Qaeda Accounts that Promoted Violence
        Against Jews.

        A.     HASSAN operated X account X ACCOUNT 1.

        6.     On May 4, 2024, Fairfax County Police Department informed FBI that it had

received an anonymous tip regarding an X Corp. (“X”) account user. The user was reportedly

based in Virginia. The tipster described the account as engaging in “radical and terrorist-leaning

behavior.” The tipster reported the username, which is known to your affiant (hereinafter “X

ACCOUNT 1”).

        7.     Records from X revealed that X ACCOUNT 1 was registered to email address

abdullah.et.hassan@[xxxxx].com and phone number (571)-xxx-xxxx (hereinafter “PHONE



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NUMBER 1”). X ACCOUNT 1 was created using an identified IP Address (hereinafter “IP

ADDRESS 1”) on January 1, 2024.

       8.    Records from Verizon showed that on January 1, 2024, IP ADDRESS 1 was

associated with a specific Verizon customer ID subscribed to by HASSAN’s father. The land

address associated with the same Verizon customer ID is HASSAN’s home address in Falls

Church, Virginia. IP ADDRESS 1 was assigned to HASSAN’s home address in Falls Church,

Virginia.

       9.    In April of 2024, HASSAN reported PHONE NUMBER 1 as his phone number to

Immigration and Customs Enforcement.

       10.   Based on the above, the FBI assesses that HASSAN operates X ACCOUNT 1.

       11.   A review of the publicly available information associated with X ACCOUNT 1

revealed HASSAN posted the following content:

             a.      On March 21, 2024, HASSAN made a post about martyrdom and the
             guarantees of paradise for martyrs. HASSAN stated, “Because all of those martyrs
             have been guaranteed paradise, this life is a test and we can leave it at any time for
             the afterlife[.]”

             b.     On March 27, 2024, while debating other X users, HASSAN made a post
             emphasizing that he believed that “Islam is a religion of justice, not peace[.]”
             HASSAN earlier commented, “If your entire family was murdered by someone,
             would you give them hugs and kisses? Islam is a religion of justice[.]”

             c.      On April 8, 2024, HASSAN argued with another X user stating, “Hamas
             are an armed resistance, what terroristic about them? Have you only hear of the
             conflict since Oct 7th? IDF have been committing war crimes for decades g, it’s
             only time Palestine fight back[.]”

             d.      On April 9, 2024, HASSAN commented on a post about the Islamic State
             of Iraq and the Levant (“ISIS”) threatening attacks on stadiums hosting the UEFA
             Champions League quarterfinals, “Praying for an ISIS masterclass uno...[.]”




                                               3
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              e.      On May 1, 2024, HASSAN made a post revering Osama bin Laden and
              Ayman Al Zawahiri. 1 He replied to a photo posted of them stating, “Lmao explain
              how they managed to deal so much damage to the west without being caught/killed
              for so long, true warriors imo[.]”

              f.     On May 2, 2024, HASSAN commented on a post about Osama bin Laden’s
              death by stating, “13 years since my idolo died[.]” 2

              g.      On May 11, 2024, HASSAN made a post indicating possible suicidal
              ideations by stating, “I may end it all[.]”

              h.    On May 12, 2024, HASSAN posted, “Allah azwjl 3 will deal with the
              American kuffar 4 army[.]”

              i.     On May 18, 2024, HASSAN made a comment about murdering people and
              dumping their bodies in The Thames, a river in England that runs through the City
              of London. HASSAN stated, “Murder them and hide their bodies in the Thames,
              who says no?”

              j.     On May 29, 2024, HASSAN explained his opinion about the Gaza conflict,
              “The Palestinians do not care for help, they have two options: victory or shahada, 5
              and both are great reward. You will never eliminate them.”

              k.      On May 31, 2024, HASSAN commented on a photo of a football player by
              saying the person’s forehead in the picture was a “…sniper’s dream[.]”

       B.     HASSAN operated another X account (X ACCOUNT 2).

       12.    On July 24, 2024, the FBI observed a public post from X ACCOUNT 1 that

revealed that HASSAN also operated an X account with a known display name (hereinafter “X



1
  Al Zawahiri was the second leader of al-Qaeda between Osama bin Laden’s death in 2011 and
Al Zawahiri’s death in 2022. Al Zawahiri is known for his role in planning various terrorist
attacks, such as the 1998 U.S. embassy bombings in Kenya and Tanzania, the September 11, 2001,
terrorist attacks, and the 2002 Bali bombings.
2
  In this Affidavit, I have included quotes as they appeared, including grammar, spelling,
punctuation errors.
3
 In my training and experience, I know that “azwjl” is an acronym for an honorific when used
next to “Allah.”
4
  In my training and experience, I know “Kuffar” to be an Arabic word for “nonbelievers” or
“infidels.”
5
  In my training and experience, I know that “shahada” is an Arabic word that means martyrdom
in this context.


                                               4
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ACCOUNT 2”). In that public post, HASSAN told another user who was attacking the user of X

ACCOUNT 2: “…that’s my other acc btw[.]”

       13.    Records from X revealed that X ACCOUNT 2 was also subscribed to PHONE

NUMBER 1 and created using IP ADDRESS 1.

       14.    Based on this information and HASSAN’s own statements, the FBI determined that

X ACCOUNT 2 was operated by HASSAN.

       15.    A review of the publicly available information associated with X ACCOUNT 2

revealed HASSAN posted the following content:

              a.     On August 2, 2024, HASSAN shared an artificial intelligence’s (“AI”)
              analysis of his profile. The analysis stated:

                      Based on our AI agent’s analysis of your tweets, you are a young,
                      radical Islamist extremist who is obsessed with jihad and violence
                      against perceived enemies. Your tweets suggest a deep-seated
                      hatred and intolerance towards those of other faiths, particularly
                      Jews.

              HASSAN reposted this post saying, “Alhamduillah,” an Arabic word
              meaning “praise be to God.”

              b.      On August 6, 2024, HASSAN posted, “Yep I am an extremist[.]”

       C.     HASSAN operated a third X account (X ACCOUNT 3).

       16.    Records provided by X revealed that between August 27, 2024, and August 28,

2024, HASSAN (using X ACCOUNT 1) engaged in direct message communication with another

user. In the message, HASSAN told the other user that he had “an Islamic account that’s rather on

the radical side,” and later identified it as a known X account (hereinafter “X ACCOUNT 3”).

       17.    X records also revealed that on August 27, 2024, X ACCOUNT 1 and X

ACCOUNT 3 were both accessed via an IP Address associated with a university campus in

Northern Virginia, within the Eastern District of Virginia. On that same day, the FBI observed

HASSAN on that university campus.


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         18.    Based on this information, the FBI determined that X ACCOUNT 3 was operated

by HASSAN.

         19.    A review of X ACCOUNT 3 revealed that the account’s profile picture depicted

Abu Osama al-Masri, the leader of the Islamic State in the Sinai. The “bio” section of X

ACCOUNT 3 contained Arabic writing that a public software tool translated as: “now the fight

has come.”

II.      HASSAN Planned a Mass Casualty Attack at the Consulate General of Israel Using
         an Explosive Device and Rifle.

         A.     An FBI confidential human source contacted HASSAN.

         20.     On August 24, 2024, an FBI Confidential Human Source (“CHS-1”) located X

ACCOUNT 3 and observed a post featuring Ahmad Musa Jibril, an Islamic cleric and convicted

felon who has promoted militant Islamism via social media. CHS-1 commented on the post that

he 6 wanted to attend one of Jibril’s lectures; HASSAN responded “Ameen.” 7

         21.    On August 25, 2024, CHS-1 commented to X ACCOUNT 3 that CHS-1 hoped

HASSAN did not get suspended and asked if HASSAN had Telegram. HASSAN responded that

he did have Telegram and direct messaged CHS-1 with an account name (hereinafter

“TELEGRAM ACCOUNT 1”) and stated “my tg.”

         22.    Based on a review of publicly available information within Telegram, the FBI

identified that PHONE NUMBER 1 was associated with TELEGRAM ACCOUNT 1.

         23.     On September 1, 2024, CHS-1 identified that X ACCOUNT 3 had been suspended

on X and contacted HASSAN through TELEGRAM ACCOUNT 1. On Telegram, HASSAN



6
 CHS-1 used a male persona to interact with HASSAN, so I will use male pronouns to refer to
CHS-1 throughout this affidavit, although CHS-1’s actual gender is not necessarily male.
7
    In my training and experience, I know that “Ameen” means “Amen” in Arabic.


                                               6
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provided CHS-1 a link to HASSAN’s Instagram page (hereinafter “INSTAGRAM ACCOUNT

1”), as well as a Telegram Channel of pro-ISIS Nasheeds. 8

         24.     On September 2, 2024, the FBI observed that INSTAGRAM ACCOUNT 1’s

profile picture was the same photograph of Abu Osama al-Masri observed on X ACCOUNT 3.

         25.     Records provided by Meta Platforms identified that INSTAGRAM ACCOUNT 1

was associated with PHONE NUMBER 1.

         26.     Based on this information, the FBI determined that INSTAGRAM ACCOUNT 1

was operated by HASSAN.

         27.     On September 3, 2024, HASSAN, utilizing TELEGRAM ACCOUNT 1, shared

ISIS propaganda with CHS-1 and made comments about the growth and strength of ISIS in

Afghanistan and West Africa.

         28.     On October 14, 2024, HASSAN used TELEGRAM ACCOUNT 1 to provide CHS-

1 detailed and complex instructions on how to travel to join ISIS using multiple methods of travel.

         29.     On October 26, 2024, CHS-1 identified that TELEGRAM ACCOUNT 1 had been

banned on Telegram. CHS-1 contacted HASSAN via INSTAGRAM ACCOUNT 1. HASSAN

introduced CHS-1 to the application SimpleX and provided a username for CHS-1 to contact

HASSAN (SIMPLEX ACCOUNT 1). 9 HASSAN advised that SimpleX was very secure.




8
    Per open sources, a nasheed is a song without musical instruments, similar to hymns.
9
    SimpleX is a private and encrypted messaging application.


                                                  7
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          30.    On October 27, 2024, HASSAN sent CHS-1 a video via direct message using

INSTAGRAM ACCOUNT 1. CHS-1 observed that the video was ISIS propaganda that invited

the listener to jihad. 10

          31.    After October 27, 2024, HASSAN and CHS-1 communicated on SimpleX with

HASSAN using SIMPLEX ACCOUNT 1.

          B.     HASSAN recruited CHS-1 to conduct a mass casualty attack.

          32.     On November 15, 2024, HASSAN sent CHS-1 a pro-ISIS video that called for the

killing of Jews. CHS-1 responded to this video by pledging allegiance to the leader of ISIS and

calling HASSAN his emir. 11 CHS-1 told HASSAN that he was waiting on HASSAN’s direction.

          33.     On November 16, 2024, HASSAN reacted to the above messages with heart

emojis. That same day, HASSAN deleted the video described in paragraph 32.

          34.     On November 22, 2024, CHS-1 told HASSAN that if CHS-1 could not travel to

join ISIS, it was Allah’s will and that “maybe he wants me to act here.” HASSAN then responded

that CHS-1 should, “...Aim for government buildings, use a Zastava rifle 12 if you can access one

to carry out your attack, and All Praises to Allah, the Lord of the Worlds...Or buy a 3d printed gun

and just buy ammunition[.]”




10
   In my training and experience, I know that in Arabic “Jihad” means “struggle” and may refer to
either an internal struggle or an external struggle, which could involve physical fighting or
violence, against the non-believers or enemies of Islam.
11
     In my training and experience, I know that in Arabic “emir” means ruler, chief, or commander.
12
   Per open sources, Zastava is a Serbian based firearms manufacturer that produces rifles similar
to AK-47s.


                                                 8
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        C.     HASSAN provided CHS-1 instructions on how to prepare a martyrdom video.

        35.    Following the above, HASSAN provided CHS-1 with directions on making a

martyrdom video, including to mask his identity, distort his voice, and record the video with a

blank background saying the following:

               Your governments have been complicit in and utterly responsible for the
               deaths of millions of men women and children across al-Sham, Iraq, and
               our beloved Al Quds. Now has come for revenge. As you weaponize
               yourselves with your tanks and missiles and jets, we weaponize ourselves
               with the Wrath of Allah AZWJL upon you. However, you may try to find
               and kill us, Allah AZWJL will replace our fallen with more muwahidden,13
               bent on eradicating the corruption that you have brought forth...

        D.     HASSAN distributed information relating to an explosive device.

        36.    On November 23, 2024, CHS-1 asked HASSAN to select the target, the date of the

attack, and asked HASSAN if he had any bomb-making manuals. HASSAN told CHS-1 that he

could find a bomb-making instructions by looking for a specific search term on archive.org and

provided CHS-1 advice for bypassing Google’s potential censorship of the search results.

Eventually, however, HASSAN sent CHS-1 a direct link to the video with the bomb-making

instructions. HASSAN suggested that, based on the size of the bomb, CHS-1 should get a backpack

to put the bomb in.

        37.    I have reviewed the bomb-making video described in paragraph 36. In it, a masked

male in military-style clothing explains the process to make acetone peroxide, an explosive.

Throughout the video, an ISIS flag logo appears in the upper corner. The video is approximately

fifteen minutes long and includes English subtitles. The video shows how to make both a detonator




13
  In my training and experience, “muwahidden” as it appears here is a typo most likely meant to
read “mujahideen,” which, in my training and experience, is an Arabic term meaning those who
are fighting jihad on behalf of Islam.


                                               9
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and a main explosive. The speaker then shows how to surround the explosive with shrapnel,

specifically, ball bearings. After assembly, the speaker says, “we now have a ready bomb.”

         38.   On November 23, 2024, HASSAN instructed CHS-1 that if CHS-1 conducts the

attack, CHS-1 should delete his SimpleX off his phone and save HASSAN’s contacts somewhere

else. HASSAN told CHS-1 that HASSAN cannot be caught giving instructions about attack

planning because HASSAN believed he was already being watched due to his past. 14

         E.    HASSAN identified the Consulate General of Israel as the target of the attack.

         39.   On November 23, 2024, HASSAN messaged CHS-1 that HASSAN believed it

would be easier to commit an attack using small arms and be “martyred” by the police (i.e., suicide

by cop) than to complete a suicide bombing successfully. In response, CHS-1 told HASSAN that

CHS-1 was in New York and that getting a gun in New York was difficult. Upon learning this,

HASSAN characterized CHS-1’s location as “a goldmine of targets.” HASSAN stated that the

best target for such an attack would be a building that represented the “Yahud.” 15 The next day,

HASSAN sent CHS-1 the land address for the Consulate General of Israel.

         40.   On December 12, 2024, I confirmed with the U.S. Department of State that on any

given workday, numerous individuals working at the Consulate General of Israel in New York

City would meet the definition of “internationally protected persons” as defined in 18 U.S.C.

§ 1116(b)(4)(B).




14
  HASSAN was interviewed by the FBI in 2022 as a juvenile due, in part, to HASSAN’s support
for ISIS online.
15
   In my training and experience, I know that “Yahud” is an Arabic word for people of the Jewish
faith.


                                                10
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         F.    HASSAN continued to provide operational support to CHS-1 regarding the
               manufacture and use of an explosive device and the planned attack on the
               Consulate General of Israel.

         41.   On November 24, 2024, HASSAN sent CHS-1 two links to purchase 5.45x39mm

cartridges and a rifle for the attack. CHS-1 told HASSAN that CHS-1 would learn more about the

area of the planned attack. HASSAN responded by asking CHS-1 to keep him updated. CHS-1

asked HASSAN what to look for while conducting surveillance. HASSAN instructed CHS-1 to

identify escape routes and ways to sneak in.

         42.   On November 25, 2024, HASSAN messaged CHS-1 and said that he had spoken

with ISIS media producers. HASSAN directed CHS-1 to create a video before committing the

attack and provide it to HASSAN, commenting that if CHS-1 is not martyred in the attack, CHS-

1 will be famous.

         43.   On November 25, 2024, CHS-1 told HASSAN that CHS-1 had conducted

surveillance on the previously identified attack target and asked what CHS-1 should do now. In

response, HASSAN told CHS-1 to “schedule a flight out of the country” and that it should be to

“somewhere where there are no extradition laws.” HASSAN further explained CHS-1 should save

up money and take weeks to plan the attack.

         44.   On November 27, 2024, HASSAN told CHS-1 that CHS-1 had two options to

conduct the attack. He said CHS-1 could either murder people at the consulate with an assault rifle

or detonate an explosive vest while standing in a group of targets. HASSAN specifically stated,

“Two options: lay havoc on them with an assault rifle or detonate a TATP 16 vest in the midst of




16
   In my training and experience, TATP is an acronym for Triacetone Triperoxide, an explosive
compound. A TATP vest in this context appears to refer to suicide vests historically worn by
terrorists to deploy explosives in crowds or buildings.


                                                11
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them...The first option being that similar to Omar Mateen...The second as a regular istishhadi17

operation[.]”

         45.    HASSAN then sent CHS-1 the link to a website to buy a rifle and advised CHS-1

to use Bitcoin or other untraceable wallet option to buy the rifle in order to avoid being tracked

down by investigators after the attack.

         46.    On November 28, 2024, HASSAN instructed CHS-1 to livestream the attack using

a particular application and to send him a link before carrying out the attack. HASSAN stated that

he wanted to record the livestream footage of the operation to distribute it to the ISIS media

department.

         47.    HASSAN then emphasized that the most effective way to conduct the attack was

with gunfire, but if CHS-1 was short on money then the only option was to use the bomb manual

previously provided. HASSAN stated that the materials to build the bomb would cost less than

$200, and that a bomb ignited in the right place can do a lot of damage.

         48.    On November 29, 2024, HASSAN asked CHS-1, “...[H]ow far away are u from

buying the necessary materials?” CHS-1 told HASSAN that he had most of the materials and was

studying timers and better detonation caps. In response, HASSAN replied, “good work[.]”

         49.    On November 30, 2024, HASSAN instructed CHS-1 to download a particular

disposable email application and to use it to send HASSAN the livestream link of the attack.




17
  In my training and experience, I know that “Istihhadi” means the death of a martyr or a heroic
death.


                                               12
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       G.      HASSAN provided CHS-1 instructions on the type of shrapnel to use in the
               explosive device.

       50.      On December 3, 2024, HASSAN continued to direct CHS-1 on how to conduct an

attack on the General Consulate of Israel in New York, NY and how to escape to a country with

no extradition laws with the United States.

       51.     That same day, HASSAN further advised CHS-1 on how to get out of the country

after the attack and escape to a country with no extradition laws. HASSAN suggested CHS-1 travel

to Borno rather than Sahel because Sahel is in Burkina Faso, which is harder to get to than Borno.

HASSAN emphasized that both are “wilayah of the khilafah,” or provinces of the Islamic State.

HASSAN advised CHS-1 to get a plane ticket from New York to Abuja, Nigeria. Then fly from

Abuja to Borno. HASSAN estimated it would only cost CHS-1 $700.

       52.      On December 4, 2024, CHS-1 asked HASSAN which ball bearings would be the

most effective for the bomb; HASSAN stated that 30mm aluminum ball bearings “will do the

trick[.]” On December 4, 2024, HASSAN sent CHS-1 a link to a website to purchase ball bearings

stating the site was a “DIY,” or do it yourself, website and was unlikely to raise suspicion.

       53.      HASSAN later changed his mind and instructed CHS-1 to buy 7-9mm ball

bearings instead.




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                                         CONCLUSION

       54.     Based on the foregoing, I submit that there is probable cause to believe that between

on or about November 22, 2024 to at least on or about December 4, 2024, in Falls Church, Virginia,

within the Eastern District of Virginia, HASSAN, violated 18 U.S.C. § 842(p)(2)(A) (distribution

of information relating to explosives, destructive devices, and weapons of mass destruction in

furtherance of the commission of a federal crime of violence, that is 18 U.S.C. §§ 1116(a),

1116(b)(4)(B), 1111 (first-degree murder of internationally protected persons)).


                                                     Respectfully
                                                      espectfully submitted,


                                                     Tyler
                                                      yler Ellefson
                                                     Special Agent
                                                     Federal Bureau of Investigation

 Respectfully submitted and attested to in
 accordance with the requirements of Fed. R.
 Crim. P. 4.1 by telephone on December 16,
 2023.


 The
  he Honorable William E. Fitzpatrick
 UNITED STATES MAGISTRATE JUDGE     J

 Alexandria, Virginia




                                                14
